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 3                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF CALIFORNIA
 4                            SAN FRANCISCO DIVISION

 5

 6   UNITED STATES OF AMERICA

 7               Plaintiff,                       NO. CR 05-0375 SI

 8          v.                                    STIPULATION AND [PROPOSED]
                                                  TRAVEL ORDER
 9   BRIAN LY, et al.,

10             Defendants.
     _________________________________/
11

12          THE UNDERSIGNED PARTIES HEREBY STIPULATE and agree that

13   defendant Brian Ly may travel outside the Northern District of

14   California, from October 6, 2006 through October 8, 2006, to Las

15   Vegas, Nevada.      Prior to travel, Brian Ly agrees to provide

16   Pretrial Services with his itinerary and contact information,

17   including, the hotel where he will be staying and a telephone

18   number where he can be reached.

19          Pretrial Services Officer Betty Kim advised that Brian Ly

20   is in full compliance with his conditions of release and she has

21   no objection to the requested travel plans, under the conditions

22   proposed herein.

23
     /S/JAMES BUSTAMANTE                    /S/ANDREW M. SCOBLE
24   JAMES BUSTAMANTE                       ANDREW M. SCOBLE
     Attorney for Defendant LY              Assistant U.S. Attorney
25   Dated:                                 Dated:

26

27          IT IS SO ORDERED.

28          Dated: 9/19/06
                                            NANDOR J. VADAS
                                            U.S. Magistrate Judge
